
ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Kerri F. Dunn, Louisiana Bar Roll number 26269, be and she hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19. The ODC may also consider whether disability inactive status proceedings are appropriate under Supreme Court Rule XIX, § 22.
/s/ Jeannette Theriot Knoll Justice, Supreme Court of Louisiana
